                    Case 2:16-cr-00025-TLN  Document
                                 IN THE UNITED STATES108  Filed 03/08/17
                                                      DISTRICT  COURT Page 1 of 1
                                             EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                                Plaintiff,

                        v.                                CR NO: 2:16-CR-00025-TLN

EDWIN ARAMBULO

                               Defendant.


                                  APPLICATION FOR WRIT OF HABEAS CORPUS
               The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                          ☒ Ad Prosequendum                                   ☐ Ad Testificandum
Name of Detainee:      Edwin Arambulo
Detained at            California State Prison in Corcoran
Detainee is:           a.)     ☒ charged in this district by: ☒ Indictment ☐ Information ☐ Complaint
                                  charging detainee with: 21 U.S.C. §§ 846 and 841(a)(1)
                  or   b.)     ☐ a witness not otherwise available by ordinary process of the Court

Detainee will:         a.)      ☐ return to the custody of detaining facility upon termination of proceedings
                  or   b.)      ☒ be retained in federal custody until final disposition of federal charges, as a sentence
                                   is currently being served at the detaining facility


                        Appearance is necessary FORTHWITH in the Eastern District of California.

                       Signature:                               /s/ Justin L. Lee
                       Printed Name & Phone No:                 Justin L. Lee, (916) 554-2700
                       Attorney of Record for:                  United States of America

                                             WRIT OF HABEAS CORPUS
                             ☒ Ad Prosequendum                   ☐ Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, FORTHWITH, and any further proceedings to be
had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.
Dated: 3/8/2017                                            /s/ Carolyn K. Delaney
                                                           Honorable Carolyn K. Delaney
                                                           U.S. MAGISTRATE JUDGE

Please provide the following, if known:
AKA(s) (if                                                                                 ☒Male      ☐Female
Booking or CDC #:       BA2803                                                             DOB:       06/17/1989
Facility Address:       900 Quebec Avenue, Corcoran, CA 93212                              Race:      Hispanic
Facility Phone:         (559) 992-7100                                                     FBI#:
Currently               In custody

                                                   RETURN OF SERVICE
Executed on:
                                                             (signature)
